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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                                     CRIMINAL ACTION

 VERSUS                                                                       NO. 14-153

 AKARI WILLIAMS, ET AL.                                                       SECTION: “E” (4)


                                     ORDER AND REASONS
        Before the Court is Defendant Phillips Thompson’s motion in limine to exclude

physical evidence and alleged coconspirator hearsay statements. 1 Specifically, Defendant

Thompson seeks to exclude evidence of firearms and ammunition allegedly found in

Defendant Williams’s home and car and in Defendant Lirette’s home, and uncharged

narcotics allegedly found at Defendant Williams’s home. In addition, Defendant

Thompson seeks to exclude post-arrest statements made by Defendants Williams and

Lirette to law enforcement and post-arrest statements made by Defendants Williams and

Lirette during jail calls. 2 The Government opposes this motion. 3 For the reasons that

follow, the motion in limine is GRANTED IN PART and DENIED IN PART.


                                       LAW AND ANALYSIS

    A. Firearms and Ammunition Found in Defendant Wlliams’ Home

        Defendant Phillips Thompson seeks to exclude evidence of an AK-47 and a bag of

ammunition allegedly found in co-Defendant Williams’s home. 4 Defendant Thompson



1 R. Doc. 168.
2 In addition, the Government and the Defendants filed trial memoranda relating in part to the

introduction of jail calls. See R. Docs. 172; 189. As these trial memoranda discussed evidentiary issues, the
Court treated them as motions in limine. To the extent these memoranda addressed the admissibility of a
jail call made by Akari Williams, the motions are moot as the Court rules herein that the jail calls are not
admissible.
3 R. Doc. 171.
4 R. Doc. 168-1, at 1.


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argues the firearms in question were legally purchased by Defendant Williams and that

neither the AK-47 nor the ammunition is relevant to the Government’s charges against

him. 5 In addition, even assuming a slight probative value, Defendant Thompson argues

any such probative value is vastly outweighed by the prejudice to his defense. 6

         Federal Rule of Evidence 401 establishes the test for determining whether or not

evidence is relevant. 7 Under Rule 401, evidence is relevant if: “(a) it has any tendency to

make a fact more or less probable than it would be without the evidence; and (b) the fact

is of consequence in determining the action.” 8 Under Rule 402, “Irrelevant evidence is

not admissible.” 9 Additionally, Rule 403 grants the Court the ability to exclude evidence

that is otherwise relevant “if its probative value is substantially outweighed by a danger

of one or more of the following: unfair prejudice, confusing the issue, misleading the jury,

undue delay, wasting time, or needlessly presenting cumulative evidence.” 10 “Unfair

prejudice” means an “undue tendency to suggest decision on an improper basis,

commonly, though not necessarily, an emotional one.” 11

         Defendant Thompson argues the weapons found at his co-Defendants’ homes are

not relevant to the charges in the indictment as “[t]here is no mention of firearms or

violence in the indictment, no violent acts or gun use are alleged as overt acts undertaken

by the alleged conspiracy, and the guns were lawfully purchased.” 12 The Government

counters that the firearms and ammunition found in Defendant Williams’ bedroom




5 Id.
6 Id. at 2.
7 FED. R. EVID. 401.
8 Id.
9 Id. at 402.
10 Id. at 403.
11 Id. at advisory committee’s notes.
12 R. Doc. 168-1, at 2.


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should be admitted because they are relevant evidence of his intent to distribute drugs

and that this evidence should be admitted against all Defendants because it establishes

the existence of the conspiracy and how the Defendants distributed drugs. 13

         The Government alleges that on the day of the controlled delivery, Defendants

Williams and Lirette opened a package containing three pounds of methamphetamine

inside Defendant Williams’ master bathroom. The Government further alleges that

during the ensuing search of Defendant Williams’ home, the officers recovered from the

master bedroom a digital scale and an AK-style rifle steps away from a closet containing

over $4,000 in cash and prescription pills. The Government argues the close proximity of

the AK-style gun to Defendant Williams’ cache of drugs and money further demonstrates

the firearm should be admitted as intrinsic evidence relevant to the charged conspiracy. 14

         The Fifth Circuit has explained, “It is well established that where a conspiracy is

charged, acts that are not alleged in the indictment may be admissible as part of the

Government’s proof.”15 In addition, The Fifth Circuit “has recognized that firearms are

‘tools of the trade’ of those engaged in illegal drug activities and are highly probative of

proving criminal intent.” 16 In United States v. Baker, a case involving two defendants

charged with conspiracy to distribute cocaine, the Fifth Circuit explained, “Otherwise

lawful acts may become unlawful when they as a whole constitute a criminal conspiracy.

The law allows these inferences when dealing with conspiracies.” 17 The Baker court

upheld the introduction of the contents of the both defendants’ homes which included

cocaine, guns and a scale after finding “the direct evidence and the accumulation of


13 R. Doc. 171, at 2.
14 The AK-style gun found in Defendant Williams’ home was legally purchased and owned.
15 United States v. Watkins, 591 F.3d 780, 785 (5th Cir. 2009).
16 United States v. Martinez, 808 F.2d 1050, 1057 (5th Cir. 1987).
17 United States v. Baker, 78 F. App’x 318, 321 (5th Cir. 2003).


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circumstantial evidence could lead a rational jury to convict.” 18 Similarly, the Fifth Circuit,

in United States v. Nguyen, reiterated, “Firearms are considered ‘tools of the trade’ in

drug trafficking offenses and are relevant intrinsic proof of an ongoing conspiracy.” 19

         The Court finds that the AK-style rifle found in Defendant Williams’ bedroom is

relevant to the charged conspiracy. In United States v. Hall, the Fifth Circuit affirmed the

defendant’s conviction for possession of firearms in furtherance of drug trafficking crimes

where the facts demonstrated that the firearms and drugs in question were found in the

same room and in close proximity to one another. 20 The government represents that the

evidence will show that the three pounds of methamphetamine was opened in Williams’

master bathroom. The rifle found in Defendant Williams home was in the adjacent master

bedroom and in close proximity to other evidence of the alleged conspiracy, such as the

digital scale. The ammunition found in Defendant Williams home is also intrinsic

evidence to the charged conspiracy as the Fifth Circuit has held that other components of

firearms, such as silencers, are “deemed to be parts of the tools-of-the-trade of drug

trafficking and are relevant intrinsic proof of an ongoing conspiracy.” 21

         The Court also finds the probative value of the AK-style rifle and ammunition is

not substantially outweighed by its potential prejudicial effect, therefore satisfying Rule

403 of the Federal Rules of Evidence. The Fifth Circuit has cautioned, “because it permits

a trial court to exclude concededly probative evidence, Rule 403 is an extraordinary

remedy which should be used sparingly.” 22 As the Fifth Circuit explained in United States

v. McRae:


18 Id.
19 United States v. Nguyen, 317 F. App’x 424, 428 (5th Cir. 2009).
20 240 F. App’x 655, 656 (5th Cir. 2007).
21 United States v. Garza, 118 F.3d 278, 285 (5th Cir. 1997).
22 United States v. Thevis, 665 F.2d 616, 633 (5th Cir. 1982).


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         Relevant evidence is inherently prejudicial; but it is only unfair prejudice
         substantially outweighing probative value, which permits exclusion of
         relevant matter under Rule 403. Unless trials are to be conducted on
         scenarios, on unreal facts tailored and sanitized for the occasion, the
         application of Rule 403 is meant to relax the iron rule of relevance, to
         permit the trial judge to preserve the fairness of the proceedings by
         exclusion despite its relevance. 23

In Nguyen, the defendant, arguing the district court abused its discretion in allowing the

Government to introduce evidence of flight itineraries, maintained “the district court

erred under [Rule] 403 because it allowed ‘concededly relevant evidence to lure the

factfinder into declaring guilt on a ground different from proof specific to the offense

charged.’” 24 The Fifth Circuit concluded:

         Proof of travel to Canada, however, is not prejudicial on its own. Evidence
         of this trip would not lure the jury into finding Nguyen guilty out of a
         prejudice against those who travel to Canada. If the evidence is prejudicial,
         it is prejudicial – as in most damaging – because of its relevance to this
         case. 25

In the case before this Court, proof of Defendant Williams’ gun possession is not

prejudicial on its own. Possession of the gun is prejudicial because of its relevant to this

case. The defense will have an opportunity to explain the facts and circumstances relating

to Defendant Williams’ legal gun possession.

    B. Handgun Found in Defendant Williams’ Car

         With respect to the firearm found in Defendant Williams’ car, 26 the Government

argues that, although Defendant Williams primarily sold drugs from his home, the




23 United States v. McRae, 593 F.2d 700, 707 (5th Cir. 1979).
24 Nguyen, 317 F. App’x 424 at 428 (quoting Old Chief v. United States, 519 U.S. 172, 180 (1997).
25 Id.
26 There appears to be some confusion as to where the handgun in question was found. In his motion,

Defendant Thompson states Defendant Williams’ handgun was found in home. See R. Doc. 168-1, at 1.
The Government, on the other hand, states that the handgun was found in Defendant Williams’ car. See R.
Doc. 171, at 3. For the purposes of this order, the Court finds that the handgun would be admissible
whether it was found in Defendant Williams’ home or car.

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Government will introduce testimony establishing Defendant Williams sometimes drove

to meet his customers to sell them drugs.27 For the same reasons as stated above, the

handgun found in Defendant Williams’ car is relevant evidence of the charged conspiracy

and its probative value is not substantially outweighed by unfair prejudice.

    C. AK-style Clip Found in Defendant Lirette’s Home

         The Government argues the AK-style clip recovered from Defendant Lirette’s 28

home is also intrinsic evidence of the charged conspiracy as this clip is the same type that

is used for the gun seized from Williams’ home. Unlike Defendant Williams’ AK-style rifle

and handgun, the Court finds this evidence is not intrinsic to the charged conspiracy.

Although the Government has indicated it intends to introduce evidence to connect

Defendant Williams’ car to the charged conspiracy, the Government has not

demonstrated a connection between the conspiracy and Defendant Lirette’s home. As a

result, the clip found in Defendant Lirette’s home is extrinsic to the charged conspiracy.

         Federal Rule of Evidence 404(b) governs the introduction of extrinsic evidence.

Under Federal Rule of Evidence 404(b), “[e]vidence of other crimes, wrongs, or acts is

not admissible to prove the character of a person in order to show action in conformity

therewith. It may, however, be admissible for other purposes, such as proof of motive,

opportunity, intent, preparation, plan, knowledge, identity, or absence of mistake or

accident.” 29

         For 404(b) evidence to be admissible, the two-step test articulated in United States

v. Beechum must be applied. 30 “First, it must be determined that the extrinsic offense



27 R. Doc. 171, at 3.
28 Defendant Lirette is severed from this case. R. Doc. 119.
29 FED. R. EVID. 404(b).
30 United States v. Beechum, 582 F.2d 898, 911 (5th Cir. 1978) (en banc).


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evidence is relevant to an issue other than the defendant’s character.” 31 As a threshold

matter, the relevancy of extrinsic act evidence is conditioned on whether the defendant,

in fact, committed the extrinsic act. 32 Rule 104(b) of the Federal Rules of Evidence states:

“When the relevance of evidence depends on whether a fact exists, proof must be

introduced sufficient to support a finding that the fact does exist. The court may admit

the proposed evidence on the condition that the proof be introduced later.” 33 “Therefore,

as a predicate to a determination that the extrinsic offense is relevant, the Government

must offer proof demonstrating that the defendant committed the offense. If the proof is

insufficient, the judge must exclude the evidence because it is irrelevant” under Rule

104(b). 34

         When “determin[ing] whether there is sufficient evidence for the jury to find the

defendant in fact committed the extrinsic offense[,] . . . [t]he judge need not be convinced

beyond a reasonable doubt that the defendant committed the extrinsic offense,” and the

Government need not “come forward with clear and convincing proof.” 35 Rather, the

standard for the admissibility of extrinsic offense evidence is whether there is evidence

sufficient to permit a reasonable jury to find the preliminary facts by a preponderance of

the evidence. 36

         Once this threshold is met, the Court must look at other indicia of relevance. When

determining whether extrinsic act evidence is relevant to an issue other than the




31 Id.
32 Id. at 912. See also U.S. v. Gutierrez-Mendez, 752 F.3d 418, 423 (5th Cir.) cert. denied, 135 S. Ct. 298

(2014).
33 FED. R. EVID. 104(b).
34 Beechum, 582 F.2d at 912–13; Gutierrez-Mendez, 752 F.3d at 423.
35 582 F.2d at 913.
36 Id; U.S. v. Anderson, 933 F.2d 1261, 1269 (5th Cir. 1991) (citing Huddleston v. U.S., 485 U.S. 681, 688–

90 (1988)).

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defendant’s character, as required to be admissible under 404(b), “relevance is a function

of [the extrinsic offense’s] similarity to the offense charged.” 37 “[S]imilarity means more

than that the extrinsic and charged offense have a common characteristic”—the common

characteristic must be “the significant one for the purpose of the inquiry at hand.” 38

         The second step of the Beechum test is that “the evidence must possess probative

value that is not substantially outweighed by its undue prejudice and must meet the other

requirements of rule 403.” 39 “The task for the court in its ascertainment of probative value

and unfair prejudice under rule 403 calls for a commonsense assessment of all the

circumstances surrounding the extrinsic offense.” 40 “Some of the factors [a court] must

consider include: (1) the extent to which the defendant’s unlawful intent is established by

other evidence; (2) the overall similarity of the extrinsic and charged offenses; and (3)

how much time separates the extrinsic and charged offenses because temporal

remoteness depreciates the probity of the extrinsic offense.” 41

         The Court finds that the evidence of the AK-style clip found at Defendant Lirette’s

home fails both prongs of the Beechum test. First, the Government has not clearly

articulated how this extrinsic evidence is relevant to an issue other than the defendant’s

character. In its opposition, the Government makes only one reference to the clip found

in Defendant Lirette’s home: “The AK-style clip that was recovered from Lirette’s home is

also probative evidence of conspiracy, as this clip is the same type that is used for the gun




37 Id.
38 Id. (internal quotation marks and citation omitted).
39 582 F.2d at 911.
40 Id. at 914.
41 United States v. Adair, 436 F.3d 520, 525 (5th Cir. 2006) (quoting Beechum, 582 F.2d at 915) (internal

quotations omitted).

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seized from Williams’ home.” R. Doc. 171, at 3. Second, the Court finds that any probative

value of this evidence is greatly outweighed by the danger of unfair prejudice.

    D. Narcotics Found in Defendant Williams’ Home

        Defendant Thompson seeks to exclude narcotics 42 found in Defendant Williams’

bedroom closet because the pills are not relevant to the charged conspiracy. 43 Defendant

Thompson argues the Government has not charged anyone with possession of these pills

nor has it made any connection between the pills and the present case. 44 The Government

maintains the various pills were seized next to the cash in Defendant Williams’ bedroom

closet and should be admitted as intrinsic evidence. 45 The Government argues, “The

context in which these pills were recovered suggests intent to distribute,” and “because

intent to distribute is an element of the crimes charged here, and because this evidence is

intrinsic evidence found at Williams’ home, where he received three pounds of

methamphetamine, the prescription pills that were seized should be admitted.” 46

        The Government cites Maceo for the proposition that “Evidence of an uncharged

offense arising out of the same transaction as the offenses charged in the indictment is

not extrinsic evidence within the meaning of Rule 404(b), and is therefore not barred by

the rule.” 47 The Government, however, has not demonstrated the uncharged narcotics

found in Williams’ closet arise out of the same transaction as the charged conspiracy. In

Maceo, the Fifth Circuit found the defendant’s personal use of cocaine and his receipt of



42 The Government states the narcotics were found in one unmarked orange pill container found in

Defendant Williams’ bedroom closet. R. Doc. 171, at 4. The Government states the pills include suspect
alprazolam (Xanax), hydrocodone with acetaminophen (a pain reliever), clonazepam (a sedative), and
Carisprodol (a muscle relaxant).Id. The Government states these are all scheduled drugs.
43 R. Doc. 168-1, at 4.
44 Id.
45 R. Doc. 171, at 4.
46 Id.
47 Id. (quoting Maceo, 947 F.2d at 1199).


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cocaine as legal fees demonstrated his knowledge that others were dealing cocaine. 48 The

court held this evidence was intrinsic to the charged conduct because “evidence that [the

defendant] personally used cocaine with others involved in this drug trafficking ring and

that he received cocaine as legal fees is clearly intertwined with the evidence necessary

to prove that he knew about the drug trafficking conspiracy and knowingly participated

in it.” 49 In the case before this Court, it is not clear there is any connection between the

narcotics found in Defendant Williams’ closet with the methamphetamine conspiracy

charged in the superseding indictment. There mere fact that the pain pills were found in

the Defendant Williams’ home cannot satisfy the showing that the pills are clearly

intertwined with Defendants’ alleged possession, and possession with the intent to

distribute, of methamphetamine. 50 As a result, the narcotics found in Defendant

Williams’ home may not be introduced as intrinsic evidence.

        The Court finds the narcotics found in Defendant Williams’ home are extrinsic to

the charged conspiracy and therefore subject to Rule 404(b) and the two-prong test first

articulated in Beechum. 51 The Court agrees with Defendant Thompson that the narcotics

in question fail to satisfy either of the two requirements. 52 First, the Government has

failed to identify how the pills found in Defendant Williams’ home are relevant to an issue

other than his character. The Government has not put forth any evidence demonstrating

drug transactions related to the pills found in Defendant Williams’ home and therefore

this evidence does not show intent to distribute methamphetamine. Instead, the pills may


48 Maceo, 947 F.2d at 1198.
49 Id. at 1199 (emphasis added).
50 Unlike firearms, which the Fifth Circuit has explained are “tools of the trade,” the Fifth Circuit has not

identified that painkillers are commonly possessed by traffickers of methamphetamine as a “tool of the
trade.”
51 The Government has not briefed on whether the narcotics may be introduced as extrinsic evidence.
52 R. Doc. 168-1, at 5.


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only demonstrate that Defendant Williams is the kind of person who possess narcotics

and that Defendant Thompson is the type of person who associates with someone who

possesses narcotics. This is exactly the sort of “propensity” reasoning that Rule 404(b)

forbids. 53

        The Court also finds that the narcotics found in Defendant Williams’ home fail to

satisfy the second prong of the Beechum analysis which requires the Court to determine

whether probative the probative value of the extrinsic evidence is substantially

outweighed by its prejudicial effect. 54 The Court finds the risk that the jury may find the

Defendants guilty for this uncharged possession too great when compared to the limited

probative value of the evidence. As a result, the Defendant’s motion in limine is granted

with respect to his request that the Government may not introduce evidence of narcotics

found in Defendant Williams’ home.

    E. Co-Conspirator Hearsay

        Defendant Thompson seeks to exclude two categories of statements he believes the

Government may attempt to introduce in its case-in-chief under Federal Rule of Evidence

801(d)(2)(E): (1) post–arrest statements made by Defendants Williams and Lirette to law

enforcement; and (2) post-arrest statements made in jail calls by Defendants Williams

and Lirette. 55

        First, with respect to statements made to law enforcement, the Government has

explained it “does not intend to present [Defendant Williams and Lirette’s] post-arrest




53 See United States v. Gomez, 763 F.3d 845, 854 (7th Cir. 2014) (holding that the fact that a user quantity

of cocaine was found in defendant’s bedroom after the alleged drug conspiracy ended should not have
been admitted under Rule 404(b) because its relevance was based solely on propensity reasoning).
54 582 F.2d at 911.
55 R. Doc. 168-1, at 6. The Government has only briefed on the issues of Defendant Williams’ jail calls.


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statements to police in its case-in-chief.” 56 The Government, however, “reserves the right

to use these statements should Williams or Lirette take the stand.” 57 As a result,

Defendant Thompson’s motion to exclude alleged coconspirator hearsay statements is

denied as moot with respect to his request that the Court exclude post-arrest statements

made to law enforcement by his co-Defendants during its case-in-chief.

         Second, with respect to post-arrest statements made in jail calls by Defendants

Williams and Lirette, the issue before the Court is whether these statements fall under

Federal Rule of Evidence 801(d)(2)(E), often referred to as the “co-conspirator exception”

to the hearsay rule. “A statement is not hearsay if . . . [t]he statement is offered against a

party and is . . . a statement by a coconspirator of a party during the court and in

furtherance of a conspiracy.” 58 The Fifth Circuit considers Rule 801(d)(2)(E) “[a] very

narrow exception to the hearsay rule.” 59 “Before admitting a co-conspirator’s statement

over an objection that it does not qualify under Rule 801(d)(2)(E), a court must be

satisfied that the statement actually falls within the definition of the Rule.” 60 The Fifth

Circuit has explained:

         Under our precedent, [t]he proponent of admittance under Rule
         801(d)(2)(E) must prove by a preponderance of the evidence (1) the
         existence of a conspiracy, (2) the statement was made by a co-conspirator
         of the party, (3) the statement was made during the course of the conspiracy,
         and (4) the statement was made in furtherance of the conspiracy.” 61 The
         content of the statement may be considered as part of the analysis, but there
         must also be independent evidence establishing the factual predicates for
         Rule 801(d)(2)(E). 62

56 R. Doc. 171, at 5 n.1.
57 Id.
58 United States v. El-Mezain, 664 F.3d 467, 502 (5th Cir. 2011) (quoting FED. R. EVID. 801(D)(2)(E)).
59 United States v. Pineda-Ortuno, 952 F.2d 98, 105–06 (5th Cir. 1992); see also Krulewitch v. United

States, 336 U.S. 440, 444 (1949) (referring to the co-conspirator exception as a “narrow exception to the
hearsay rule”).
60 Bourjaily v. United States, 483 U.S. 171, 175 (1987).
61 El-Mezain, 664 F.3d at 502 (quoting United States v. Solis, 229 F.3d 420, 443 (5th Cir. 2002)).
62 Id. (citing United States v. Sudeen, 434 F.3d 384, 390 (5th Cir. 2005)). See also United States v.

Ammar, 714 F.2d 238, 246 n.3 (3d. Cir. 1983) (collecting cases and explaining that most circuits,

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Demonstrating there was a conspiracy and that the statement was made during the course

and in furtherance of the conspiracy are preliminary questions of fact that must be

determined by the Court. 63 In Bourjaily, The Supreme Court further explained, “We have

traditionally required that [preliminary questions of fact] be established by a

preponderance of proof . . . [t]herefore, we hold that when the preliminary facts relevant

to Rule 801(d)(2)(E) are disputed, the offering party must prove them by a preponderance

of the evidence.” 64

        The evidence at issue is a jail call made by Defendant Williams to his wife on May

31, 2014, less than 24 hours after his arrest. 65 According to the Government, “During the

call, Williams tells his wife that ‘my old boy’ may be concerned, and asks his wife to ‘[c]all

him he about to spook out.’” 66 Williams then provides a phone number for his wife to call,

which was the same number as the number on the package of methamphetamine and

Defendant Thompson’s phone. 67 The Government argues “because of all this happens

within a day of Williams’ arrest in possession of the package that Thompson mailed, this

call will establish that Williams was still part of the conspiracy and sought to preserve it

by warning Thompson what happened.” 68

        It is the Government’s burden to demonstrate by a preponderance of the evidence

that Defendant Williams’ post-arrest statements were made in furtherance of the

conspiracy. 69 “Post-arrest confessions or statements incriminating others by one


including the Fifth Circuit, take the position that the preliminary determinations as to admissibility must
be made on the basis of independent evidence).
63 Bourjaily, 483 U.S. at 175-76.
64 Id.
65 R. Doc. 171, at 6.
66 Id.
67 Id.
68 Id.
69 El-Mezain, 664 F.3d at 502.


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coconspirator are generally not made in furtherance of a conspiracy.” 70 The Fifth Circuit

has explained, however, “[i]f co-conspirators still at large are fully capable of perpetuating

an on-going conspiracy, it is entirely possible that they or their arrested brethren may

make statements intended to further effectuate the conspiracy.” 71 The Government argues

the call made by Defendant Williams to his wife was “made in furtherance of the

conspiracy because he sought to warn Thompson so that police would not learn about

other members of the conspiracy.” 72

        The Government cites three cases in support of its position that courts have found

statements made in post-arrest jail calls admissible under the co-conspirator hearsay

exception. 73 These cases cited by the Government are distinguishable from the case

currently before this Court. In comparison to the case before this Court, the cases cited by

the Government all found that, despite the arrest of some co-conspirators, the conspiracy

was still ongoing. For example, in Brown, the Seventh Circuit found the arrested co-

conspirators “plotted to cover up and maintain the conspiracy after their arrest,” through

jail calls. 74 Likewise, in Paredes, the court allowed the introduction of a co-conspirator’s

post-arrest phone call commanding his wife to call the defendant in order to help him be

released on bail as admissible non-hearsay under Rule 801. The Paredes court explained,

“[w]ithout this directive from [the co-conspirator], his wife arguably would not have

called [the defendant] for his help, and a drug courier would remain in jail, thus hindering




70 United States v. Weir, 2001 WL 1465219, at *6 (5th Cir. Oct. 23, 2001) (quoting United States v.

Williams, 87 F.3d 249, 254 (8th Cir. 1996)).
71 United States v. Register, 496 F.2d 1072, 1078 (5th Cir. 1974).
72 R. Doc. 171, at 7.
73 See R. Doc. 171, at 8-9 (citing United States v. Ortiz, 590 F.App’x 708, 709 (9th Cir. 2015); United

States v. Paredes, 176 F. Supp. 2d 183 (S.D.N.Y. 2001); United States v. Brown, 822 F.3d 966, 973 (7th
Cir. 2016)).
74 Brown, 822 F.3d at 973.


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the objectives of the drug conspiracy.” 75 Implicit is the notion that the conspiracy was

ongoing and the released defendant could return to participate. In United States v.

Persico, another case allowing post-arrest jail calls in as evidence under the co-

conspirator hearsay exception, the Second Circuit found the arrest of some co-

conspirators did not end the conspiracy in question after explaining:

        That some of the conspirators had been indicted and were under arrest is
        unimportant; as some of the charges in this case indicate, the Colombo
        Family was quite capable of continuing operations despite the fact that
        some of its members were incarcerated. Moreover, some members of the
        conspiracy found prison no obstacle to continuing their association with the
        enterprise. 76

        The Court finds that the Government has not satisfied its burden to demonstrate

Defendant Williams’ call to his wife was in furtherance of an ongoing conspiracy. In this

case, the Government has not provided evidence the conspiracy was ongoing after

Williams’ arrest. To be in furtherance of a conspiracy, there must be a conspiracy. In

addition, the Government has not shown Thompson was, at that time, fully capable of

perpetuating an on-going conspiracy. Williams’ statement that Thompson may “spook

out” does not prove by a preponderance of the evidence that the statement was made

during the course of a conspiracy in furtherance of that conspiracy. While the Government

argues the call demonstrates Williams wanted to warn Thompson about his arrest, in the

phone call in question, Defendant Williams’ wife explains Thompson already knows about

the arrest. 77 As a result, it appears Defendant Thompson knew about the arrest. The

Government’s argument that the call was made to warn Thompson is not sufficient to




75 Paredes, 176 F. Supp. 2d at 190.
76 Perisco, 822 F.3d 705, 715–16 (2d Cir. 1992).
77 In the transcript of the call provided by the Government, Williams’ wife states, “He been calling too he

knows.” Williams’ wife then explains Thompson previously called and spoke to “Tootie.”

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show that the call was made in furtherance of an ongoing conspiracy. The statement

therefore does not fall under the exception to the hearsay rule in Rule 801(d)(2)(E).78

                                             CONCLUSION

        IT IS ORDERED that Defendant Thompson’s motion in limine 79 is DENIED to

the extent he seeks to exclude evidence of weapons and ammunition found in co-

Defendant Williams’ home and car. Defendant Thompson’s motion is GRANTED to the

extent he seeks to exclude evidence of the AK-style clip found in co-Defendant Lirette’s

home and narcotics found in Defendant Williams’ home.

        IT IS ORDERED that Defendant Thompson’s motion is DENIED as moot to the

extent he seeks to exclude post-arrest statements made to law enforcement by co-

Defendants Thompson and Lirette during the Government’s case-in-chief. Defendant

Thompson’s motion is GRANTED to the extent he seeks to exclude post-arrest jail calls

made by co-Defendants Williams and Lirette. The Government may not attempt to

introduce evidence of post-arrest calls as exceptions to the hearsay rule under Federal

Rule of Evidence 801(d)(2)(E).

        New Orleans, Louisiana, this 8th day of November, 2016.


                          ________________________________
                                   SUSIE MORGAN
                            UNITED STATES DISTRICT JUDGE




78 As the jail call in question will not be admitted into evidence, the issues regarding the jail call discussed

in both the Government and Defendant Phillip’s trial memoranda are therefore dismissed as moot.
79 R. Doc. 168.


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